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                     EXHIBIT A
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 March 3, 2020

 Elemetal Refining LLC
 Ohio Precious Metals LLC
 16064 Beaver Pike
 PO Box 605
 Jackson, OH 45640

 Re:    Ohio Precious Metals LLC
        Loan Number: 5114006771
        Collateral: 16064 Beaver Pike, Jackson, OH 45640


 TO WHOM IT MAY CONCERN:

 Pursuant to your request, please be advised that Peoples Bank requires the following funds to payoff
 the above referenced loan and release any legal documents pertaining thereto:

 PAYOFF STATEMENT REQUEST THROUGH March 13, 2020:

 Current Principal      $2,886,514.47
 Interest                       5,058.42 Daily accrual of $420.95
 Release Fee                       76.00
                         ----------------
 Total Payoff           $2,891,648.89

 If the funds are not received in this office by 4:00 p.m., another day’s interest will need to be added.
 This payoff figure is subject to verification upon receipt of funds and the party tendering funds shall
 be responsible for any shortages resulting from clerical error or otherwise.

 This statement concerns the account identified by the indicated borrower and address. It is your
 responsibility to verify that it is the same account which you requested this information.

 These figures are correct provided there is no change in the status of the account due to receipt of
 payments, reversals of payments or disbursements made by us. Please call to verify the amounts on
 the day of closing. In the event of a shortage of funds, your payment will be applied as a principal
 reduction and your loan will remain open until the remaining amount due is received.

 Regular monthly payments coming due must be paid until we have received the necessary funds to
 pay the loan in full. Late charges will be assessed on each delinquent payment.
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 March 3, 2020
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 Unless otherwise required by state regulations, borrowers will receive satisfied or reconveyed
 documents within 30 days of our receipt of funds.

 IF THIS PAYOFF WILL RESULT IN AN ADDRESS CHANGE, PLEASE PROVIDE THE
 FORWARDING ADDRESS TO WHICH ANY DOCUMENTS OR FURTHER
 CORRESPONDENCE SHOULD BE SENT.

 Any overpayment will be refunded to the borrower, unless otherwise requested.

 The payoff check should be made payable to Peoples Bank, and remitted to the following:

                                Peoples Bank
                                138 Putnam Street
                                Marietta, OH 45750
                                ATTN: Loan Operations Title Group

 Federal Wiring Instructions:

 Bank Name:            Peoples Bank
 Routing Number:       044202505
 Street Address:       138 Putnam Street, Marietta, OH 45750
 For Benefit Of:       Ohio Precious Metals LLC
 Account #:


 Should you have any questions, please reach out to Loan Operations Department at 800.374.6123.

 Sincerely,

 Peggy Lawlis

 Peggy Lawlis
 Portfolio Monitoring Analyst
 740-687-2901
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3130 Michigan Avenue
Portsmouth, OH 45662
                An appraisal of:     A General-Purpose Industrial Facility With One User Spaces
                       Located at:   16064 Beaver Pike Jackson, OH 45640


Standard of Value
The following definition of market value was taken from regulations published by federal regulatory agencies pursuant to
Title XI of the Financial Institutions Reform, Recovery, and Enforcement Act (FIRREA) of 1989. Federal agencies
publishing this definition, between July 5, 1990 and August 24,1990, include the Federal Reserve System (FRS) as 12 CFR,
parts 208 and 225; the National Credit Union Administration (NCUA); the Federal Deposit Insurance Corporation (FDIC); the
Office of Thrift Supervision (OTS); and the Office of the Comptroller of the Currency (OCC) as 12 CFR, part 34, subpart C.
This definition is also referenced in regulations jointly published by the OCC, OTS, FRS, and FDIC on June 7, 1994 and as
updated April 9, 2018; and in the “Interagency Appraisal and Evaluation Guidelines”, dated October 27, 1994 and updated
April 20, 2014. This same definition is also cited in Advisory Opinion 22 and in the Glossary of the 2018-2019 version of the
Uniform Standards of Professional Appraisal Practice (USPAP).

        “The most probable price which a property should bring in a competitive and open market under all
        conditions requisite to a fair sale, the buyer and seller each acting prudently and knowledgeably, and
        assuming the price is not affected by undue stimulus. Implicit in this definition is the consummation of a sale
        as of a specified date and the passing of title from seller to buyer under conditions whereby:

        1.    buyer and seller are both typically motivated;
        2.    both parties are well informed or well advised and acting in what they consider their own best
              interests;
        3.    a reasonable time is allowed for exposure in the open market;
        4.    payment is made in terms of cash in U.S. dollars or in terms of financial arrangements
              comparable thereto; and
        5.    the price represents the normal consideration for the property sold unaffected by special or
              creative financing or sales concessions granted by anyone associated with the sale."

This definition is also used by many other governmental agencies like Fannie Mae, Freddie Mac, the VA, the
FHA, and many legal jurisdictions.




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Scope of Work
The Uniform Standards of Professional Appraisal Practice (USPAP) defines scope of work as “the amount and type of
information researched and the analysis applied in an assignment.” USPAP clearly states the “burden of proof” for the scope
of work decision rests solely with the appraiser(s), not the client. Scope of work includes, but is not limited to, the following:

              Ë    the degree to which the property is inspected or identified;
              Ë    the extent of research into physical or economic factors that could affect the property;
              Ë    the extent of the data research; and
              Ë    the type and extent of analysis applied to arrive at opinions or conclusions.

Before accepting the assignment, the appraiser(s) conversed with the client, or the client’s agent. During the conversation(s),
the client made the following statements, or inferences, which have bearing on the scope of work decision.

                             Client’s Prior Engagement of
                                                                 Numerous
                                        Appraisal Services
                                                                 Client and Other Similar User Types With Consistent
                                            Intended Users
                                                                 Motivations
                        Jurisdictional Exception(s) Apply        None Used
                                      Loan to Value Ratio        Not Applicable

Evaluation of assignment complexity, by the appraiser(s), in concert with client statements, agreements, and inferences
constitute the primary basis for the appraisers’ scope of work decision. Elements of the scope of work decision are below.

                                Assignment Complexity            Somewhat Extreme
                                         Report Format           Appraisal report
                                      Standard of Value          Market Value
                  Complies With Reporting Requirements
                                                                 2-2(a)
                     Set Forth in USPAP Standard Rule
                                    Subject Observation          Interior and Exterior
                                   Highest and Best Use          Inferred Analysis
                                                                 An indirect method of verification was used to confirm market
                                                                 data cited in this report. Information was confirmed via an
                                         Data Verification       intermediary like a data reporting service, multiple listing
                                                                 service, or another appraiser.


Data verification affects reliability. Direct data verification confirms information used in the report with one or more parties
who have in-depth knowledge about the property being appraised, or related financial details. Indirect verification employs
information obtained from a secondary source like a data reporting service, a multiple listing service, or another appraiser.
Direct verification is generally more time-consuming and costly, but also more reliable.




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Data sources included, yet were not limited to the Internet, governmental agencies, demographic service companies, persons
involved with the subject or comparables, appraiser files, other real estate professionals, and/or Multiple Listing Services. All
information used herein was obtained from seemingly sensible sources. This information was examined for accuracy, is
believed reliable, and assumed reasonably accurate. However, no guaranties or warranties for the information are expressed
or implied. No liability or responsibility is assumed by the appraiser(s) for any inaccuracy from any seemingly credible
information source.
A statement about observation of the subject real estate by the appraiser(s) is listed above. If the subject was observed, this
viewing was not as thorough as a professional property inspection. A professional inspector determines the precise physical
condition, remaining useful life, and operability of major building components like the structural system, roof cover, electrical
system, plumbing, and heating plant. Inspectors typically do not ascertain size of the building, or characteristics of the land.
By contrast, an appraiser commonly has concerns about both the land and building. Ordinarily, appraisers do not determine
operability, or remaining useful life of building systems. An appraiser typically views, or observes real estate to determine
only general attributes like physical condition of the building as a whole, site topography and access, building size,
construction quality, floor plan, and functionality of the property as a whole. No probes, investigations, or studies were made
to discover unapparent, adverse physical features.

Prior engagement of appraisal services by the client implies a level of awareness about the appraisal process. This awareness
may be useful when contemplating an appropriate appraisal development, or level of report detail.
Intended use and intended user(s) should be weighed heavily during the scope of work decision. A single intended user who
frequently engages appraisal services is likely very knowledgeable. For this type user, appraisal development and reporting
for simple property types might be toward the lower end of the spectrum. By contrast, multiple intended users, especially
those with opposing motivations, likely need extensive appraisal development and reporting. Litigation is a prime example
when complete appraisal development and detailed reporting is generally warranted.
A loan to value ratio reflects risk. For commercial-grade loans, rates over 75% are generally regarded as risky. If a
contemplated loan is viewed as risky, then the level of appraisal development and report detail should be more
comprehensive. Similarly, more complex property types generally require more thorough market analysis, subject specific
considerations, and more extensive report detail.
Highest and best use analyses can be categorized into two groups - inferred and fundamental. A fundamental analysis is
quantified from broad demographic and economic data such as population and income. Supply is inventoried. Subject
specific characteristics are considered. Then, the relationship between supply and demand is weighed to determine a specific
highest and best use for the subject. An inferred analysis uses trends and patterns to infer a general highest and best use for
the subject. Market dynamics that might be considered are prices, marketing times, rents, vacancy, and listings of similar real
estate. Subject specific studies were not made during the appraisal development process.
A Jurisdictional Exception is an assignment condition, which voids a portion of USPAP that is contrary to law or public
policy. When a Jurisdictional Exception applies, only the contrary portion is void. The remainder of USPAP remains in full
force and effect. Jurisdiction Exceptions always shrink USPAP, not expand it

Development of the appraisal included, yet was not limited to, observation of the subject and data verification as stated above,
and other steps listed below.




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          Ë   consideration of influential market area, physical, economic, and governmental factors
          Ë   determination of the subject’s highest and best use(s), if appropriate
          Ë   development of one or more applicable approaches to value
          Ë   reconciliation of value indications, if appropriate
          Ë   preparation of this report

According to USPAP, all valuation approaches that are applicable to the interest being appraised and necessary to produce
credible results must be developed. The relevance and development of each major approach is listed below.

                                     Applicable &          Applicable yet                          Not Applicable
                                                                                    Not
                                      Necessary            Unnecessary                             But Included At
                                                                                 Applicable
                                     (Developed)             (Omitted)                             Client’s Request
        Cost Approach                                                                x
        Sales Comparison                    x
        Income Approach                                                              x

Applicable and necessary approaches were selected for development after consideration of available market data, and the
client's intended use. Any approach deemed applicable but unnecessary constitutes a departure from specific requirements set
forth in USPAP Standard Rule 1. An approach in this category was omitted due to a low degree of accuracy required by our
client, and with our client’s concurrence. If the income approach was omitted, leases burdening the subject, if any, were not
examined to determine their affect on value. An approach considered not applicable was omitted because this valuation
methodology is not appropriate for the property being appraised, or sufficient data to properly develop the approach was not
available. Any approach judged not applicable, yet included in this report, was developed solely at our client’s request. Data
used to develop an approach in this last category is likely to have a low degree of comparability to the subject. No emphasis
was given an approach deemed not applicable but included.




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Ordinary and Extraordinary Assumptions & Disclosures
USPAP defines an Extraordinary Assumption to be “an assignment-specific assumption as of the effective date regarding
uncertain information used in an analysis which, if found to be false, could alter the appraiser's opinions or conclusions”.
Extraordinary assumptions presume as fact otherwise uncertain information. Uncertain information might include physical,
legal, or economic characteristics of the subject property; or conditions external to the property, such as market conditions or
trends; or the integrity of data used in an analysis. In other words, this type assumption involves uncertainty about an
underlying premise.

This appraisal has the following ordinary assumptions.

     Features of the subject site such as legal description, dimensions, size, etc. were obtained from publicly available
      sources. All information taken therefrom is assumed reasonably correct.

     Configuration and dimensions of the subject structure was obtained from the Auditors website. Other details of the
      improvements including yet not limited to floor plan, construction materials, and physical condition were obtained
      from the appraiser(s) personal observations. All this information is assumed reasonably correct.

     Observation of the subject property was restricted to the entire site, some of the roof (as visible from the ground),
      some exterior walls (as visible from the ground), Unseen spaces are assumed to have physical condition similar to
      that in observed spaces. It is further assumed the subject has no hidden defects. No probes or attempts to remove
      materials to discover unapparent defects were made by the appraiser(s).

     Real estate tax information for the subject was obtained from the County Auditor. Other historical income and
      expense information contained in this report was provided by the borrower. All information cited from these sources
      is assumed reasonably correct. Moreover, this information is assumed the most recent that is readily available to the
      public. Lessees verified their rental rates for some of the subject’s occupant spaces

     A recently issued title policy was not provided to the appraisers. Therefore, this appraisal does not address issues that
      affect value and are listed in the title policy, but are unknown to us.

There are no extraordinary assumptions

Hypothetical Conditions
USPAP defines a hypothetical condition as “a condition, directly related to a specific assignment, which is contrary to what
is known by the appraiser to exist on the effective date of the assignment results, but is used for the purpose of analysis”
Hypothetical conditions assume conditions that are contrary to known fact. An illustration is the current valuation of a
proposed home. For the purpose of a rational analysis, it is assumed the home exists on the effective value date, but it is
known the home is nonexistent. Another example is a new zoning classification, that a property does not have today, but the
new zoning is assumed for the purpose of a logical current valuation. Uncertainty is not involved with a hypothetical
condition. An essential premise underlying the valuation is known not to exist on the date of value.


Occasional USPAP Issues                                                                  Not Applicable      Detailed Herein
Value effect of assemblage                                                                      x
Value effect of expected off-site public or private improvements                                x

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Contingent and Limiting Conditions                         (Page 1 of 4)
1.    By this notice, all persons and firms using or relying on this report in any manner bind themselves to accept these
      contingent and limiting conditions, and all other contingent and limiting conditions contained elsewhere in this report.
      Do not use any portion of this report unless you fully accept all contingent and limiting conditions contained
      throughout this document.
2.    Throughout this report, the singular term "Appraiser" also refers to the plural term "Appraisers.” The terms
      "Appraiser" and “Appraisers” refer collectively to "Robert E Gambill Appraisals", its officers, employees, contractors,
      and associate appraisers. The masculine terms "he" or "his" also refer to the feminine term "she" or "her.”
3.    No portion of this report may be published or reproduced without the prior written consent of the appraiser. These
      conditions are an integral part of this appraisal report, and are a preface to any certification, definition, description, fact,
      or analysis. Moreover, these conditions are intended to establish as a matter of record that the purpose of this report is
      to provide a value estimate for the subject property.

4.    The liability of the Appraisers is limited solely to the client. There is no accountability, obligation, or
      liability to any other third party. The Appraisers’ maximum liability relating to services rendered under this
      engagement (regardless of form of action, whether in contract, negligence or otherwise) is limited to monies
      paid to Robert E Gambill Appraisals for that portion of their services, or work product giving rise to liability.
      In no event shall the Appraisers be liable for consequential, special, incidental or punitive loss, damage or
      expense (including without limitation, lost profits, opportunity costs, etc.) even if advised of their possible
      existence. If this report is placed in the hands of anyone other than the client, the client shall make such party
      aware of all contingent and limiting conditions, assumptions, discloses, and related discussions. Use of this
      report by third parties shall be solely at the risk of the third party.
5.    Any value estimate herein is based on observations of the subject by the appraiser(s), a gathering of market
      information, and an analysis of the gathered information as of the effective value date. Information about the subject
      property, neighborhood, comparables, or other topics discussed in this report was obtained from sensible sources. In
      accordance with the extent of research disclosed in the Scope of Work section, all information cited herein was
      examined for accuracy, is believed to be reliable, and is assumed reasonably accurate. However, no guaranties or
      warranties are made for this information. No liability or responsibility is assumed for any inaccuracy which is outside
      the control of the Appraiser, beyond the scope of work, or outside reasonable due diligence of the Appraiser.
6.    Real estate values are affected by many factors. Therefore, any value opinion herein is considered most credible on the
      effective value date. Every day that passes thereafter, the degree of credibility wanes as the subject changes physically,
      the economy changes, or market conditions change. The Appraisers reserve the right to amend these analyses and/or
      the value conclusion(s) contained within this appraisal report if erroneous, or more factual-information is subsequently
      discovered. No guarantee is made for the accuracy of estimates or opinions furnished by others and contained in this
      report.
7.    This appraisal is not an engineering, construction, legal, or architectural study. It is not an examination or survey of
      any kind. Expertise in these areas is not implied. The Appraisers are in no way responsible for any costs incurred to
      discover, or correct any deficiency in the property. In the case of limited partnerships, syndication offerings, or stock
      offerings in the real estate, the client agrees that in case of lawsuit (brought by the lender, partner, or part owner in any
      form of ownership, tenant, or any other party), the client will hold Robert E Gambill Appraisals, its officers,
      contractors, employees and associate appraisers completely harmless. Acceptance of, and/or use of this report by the
      client, or any third party is prima facie evidence that the user understands, and agrees to all these conditions.

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Contingent and Limiting Conditions                           (Page 2 of 4)

8.    Unless specifically stated herein, the appraisers are unaware of any engineering study made to determine the bearing
      capacity of the subject land, or nearby lands. Improvements in the vicinity, if any, appear to be structurally sound. It is
      assumed soil and subsoil conditions are stable and free from features, which would cause supernormal costs to arise. It
      is also assumed existing soil conditions of the subject land have proper load bearing qualities to support the existing
      improvements, or proposed improvements appropriate for the site. No investigations for potential seismic hazards
      were made. This appraisal assumes there are no conditions of the site, subsoil, or structures, whether latent, patent, or
      concealed that would render the subject property less valuable. Unless specifically stated otherwise in this document,
      no earthquake compliance report, engineering report, flood zone analysis, hazardous waste, or asbestos analysis was
      made, or ordered in conjunction with this appraisal report. The client is strongly urged to retain experts in these fields,
      if so desired.
9.    For appraisals of multifamily property, only a portion of all dwellings was observed. A typical ratio of observed
      dwellings roughly approximates 20% of the total number of units, and this ratio declines as the number of dwellings
      grows. It is assumed, in reaching a value conclusion, that the functionality, condition, and finish of the remaining units
      are similar to the functionality, condition, and finish of the observed units. If unobserved dwellings significantly differ
      from those that were viewed in functionality, condition, or finish, the Appraisers reserve the right to amend the analysis
      and/or value conclusion(s).
10.   The physical condition of the improvements described herein was based only on visual observation. Electric, heating,
      cooling, plumbing, water supply, sewer or septic, mechanical equipment, and other systems were not tested. No
      determinations were made regarding the operability, capacity, or remaining physical life of any component in, on, or
      under the real estate appraised. All building components are assumed adequate and in good working order unless
      stated otherwise. Private water wells and private septic systems are assumed sufficient to comply with federal, state, or
      local health safety standards. No liability is assumed for the soundness of structural members since structural elements
      were not tested or studied to determine their structural integrity. The roof(s) of the structure is (structures are) assumed
      water tight unless otherwise noted. Comments regarding physical condition are included to familiarize the reader with
      the property. This document is not an engineering or architectural report. If the client has any concern regarding
      structural, mechanical or protective components of the improvements, or the adequacy or quality of sewer, water or
      other utilities, it is suggested experts in these disciplines be retained before relying upon this report. No representations
      are made herein as to these matters unless specifically stated otherwise in this report.
11.   No liability is assumed for matters of legal nature that affect the value of the subject property. Unless a clear statement
      to the contrary is made in this report, value estimate(s) herein are predicated upon the following assumptions. (A) The
      real property is appraised as though, and assumed free from all value impairments including yet not limited to title
      defects, liens, encumbrances, title claims, boundary discrepancies, encroachments, adverse easements, environmental
      hazards, pest infestation, adverse leases, and atypical physical deficiencies. (B) All real estate taxes and assessments,
      of any type, are assumed fully paid. (C) The property being appraised is assumed held under responsible and lawful
      ownership. (D) It is assumed the subject property is operated under competent and informed management. (E) The
      subject property was appraised as though, and assumed free of indebtedness. (F) The subject real estate is assumed
      fully compliant with all applicable federal, state, and local environmental regulations and laws. (G) The subject is
      assumed fully compliant with all applicable zoning ordinances, building codes, use regulations, and restrictions of all
      types. (H) All licenses, consents, permits, or other documentation required by any relevant legislative or governmental
      authority, private entity, or organization have been obtained, or can be easily renewed for a nominal fee.




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Contingent and Limiting Conditions                           (Page 3 of 4)

12.   If this appraisal values an interest that is less than the whole fee simple estate, then the following limitations apply.
      The final value estimate pertains only to the fractional interest that constitutes the real property appraised. Moreover,
      the value of the fractional interest appraised plus the value of all other complementary fractional interests may or may
      not equal the value of the entire fee simple estate.
13.   An appraised property that is a physical portion of a larger parcel or tract is subject to the following limitations. The
      value estimate for the property appraised pertains only to that portion defined as the subject. This value estimate
      should not be construed as applying with equal validity to other complementary portions of a larger parcel or tract. The
      value estimate for the physical portion appraised plus the value of all other complementary physical portions may or
      may not equal the value of the whole parcel or tract.
14.   The allocation of value between the subject's land and improvements, if any, represents our judgment only under the
      existing use of the property. A re-evaluation should be made if the improvements are removed, substantially altered, or
      the land is utilized for another purpose.
15.   The Appraisers assume a prospective purchaser of the subject is aware of the following. (A) This appraisal of the
      subject property does not serve as a warranty on the condition of the property. (B) It is the responsibility of the
      purchaser to examine the property carefully, and to take all necessary precautions before signing a purchase contract.
      (C) Any estimate for repairs is a non-warranted opinion of the appraiser.
16.   If this appraisal values the subject as though construction, repairs, alterations, remodeling, renovation, or rehabilitation
      will be completed, it is assumed such work will be completed in a timely fashion, using non-defective materials, and
      proper workmanship. All completed work is assumed to substantially conform to plans, specifications, descriptions, or
      attachments made or referred to herein. It is also assumed all planned, in-progress, or recently completed construction
      complies with the zoning ordinance, and all applicable building codes. In a prospective valuation, it is understood and
      agreed the Appraiser is not responsible for the impact on value, caused by unforeseeable events, before completion of
      the project.
17.   Any exhibits in the report are intended to assist the reader in visualizing the subject property and its surroundings. The
      drawings are not surveys unless specifically identified as such. No responsibility is assumed for cartographic accuracy.
      Drawings are not intended to be exact in size, scale, or detail.
18.   Value estimates involve only real estate, and inconsequential personal property. Value conclusions do not include
      personal property, unaffixed equipment, trade fixtures, business good will, chattel, or franchise items of material worth
      unless specifically stated otherwise.
19.   Conversion of the subject's income into a market value estimate is based upon typical financing terms that were readily
      available from a disinterested, third party lender on this report’s effective date. Atypical financing terms and
      conditions do not influence market value, but may affect investment value.
20.   All information and comments concerning the location, neighborhood, trends, construction quality, construction costs,
      value loss, physical condition, rents or other data for the subject represent estimates and opinions of the Appraisers
      formed after an observation of the property. Expenses shown in the Income Approach, if used, are estimates only.
      They are based on past operating history, if available, and are stabilized as generally typical over a reasonable period.




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Contingent and Limiting Conditions                          (Page 4 of 4)

21.   Robert E Gambill Appraisals and the appraisers have no expertise in the field of insect, termite, or pest infestation. We
      are not qualified to detect the presence of these or any other unfavorable infestation. The appraisers have no
      knowledge of the existence of any infestation on, under, above, or within the subject real estate. No overt evidence of
      infestation is apparent to the untrained eye. However, we have not specifically inspected or tested the subject property
      to determine the presence of any infestation. No effort was made to dismantle or probe the structure. No effort was
      exerted to observe enclosed, encased, or otherwise concealed evidence of infestation. The presence of any infestation
      would likely diminish the property's value. The value estimate in this communication assumes there is no infestation of
      any type affecting the subject real estate. No responsibility is assumed by the appraisers or Robert E Gambill
      Appraisals for any infestation or for any expertise required to discover any infestation. Our client is urged to retain an
      expert in this field, if desired.
22.   Effective January 26, 1992, the Americans with Disabilities Act (ADA) - a national law, affects all non-residential real
      estate or the portion of any property, which is non-residential. The appraisers have not observed the subject property to
      determine whether the subject conforms to the requirements of the ADA. It is possible a compliance survey, together
      with a detailed analysis of ADA requirements, could reveal the subject is not fully compliant. If such a determination
      was made, the subject's value may or may not be adversely affected. Since the appraisers have no direct evidence, or
      knowledge pertaining to the subject's compliance or lack of compliance, this appraisal does not consider possible
      noncompliance or its affect on the subject's value.
23.   The appraiser is not required to give testimony or appear in court because of having prepared this report unless
      arrangements have been previously made. If the appraiser is subpoenaed pursuant to court order, the client agrees to
      compensate the Appraisers for their court appearance time, court preparation time, and travel time at their regular
      hourly rate, then in effect, plus expenses. In the event the real property appraised is, or becomes the subject of
      litigation, a condemnation, or other legal proceeding, it is assumed the Appraisers will be given reasonable advanced
      notice, and reasonable additional time for court preparation.
24.   All opinions are those of the signatory appraisers based on the information in this report. We assume no responsibility
      for changes in market conditions, or for the inability of the client, or any other party to achieve their desired results
      based upon the appraised value. Some of the assumptions or projections made herein can vary depending upon
      evolving events. We realize some assumptions may never occur and unexpected events or circumstances may occur.
      Therefore, actual results achieved during the projection period may vary from those set forth in this report.
      Compensation for appraisal services is dependent solely on the delivery of this report, and no other event or
      occurrence.
25.   A signatory of this report may be a member, associate of candidate of the Appraisal Institute. If so, the Bylaws and
      Regulations of the Institute require each member, associate, and candidate to control the use and distribution of each
      report signed by such member, associate, or candidate. Therefore, our client may distribute copies of this report, in its
      entirety, to anyone. However, neither all or any part of this report shall be disseminated to the general public by the
      use of advertising media, public relations media, news media, sales media, electronic devices, or other media without
      the prior written consent of Robert E Gambill Appraisals. This restriction applies particularly as to the valuation
      conclusions, the identity of the Appraisers, any reference to the Appraisal Institute, or to the MAI, SRPA, or SRA
      designations.




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Vicinity Map




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Proximity Map




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Jackson County, Ohio




                  Location in the state of Ohio




                   Ohio's location in the U.S.
   Founded                      March 1, 1816[1]
  Named for                     Andrew Jackson
       Seat                        Jackson
  Largest city                     Jackson
      Area
     - Total              421.53 sq mi (1,092 km²)
     - Land               420.30 sq mi (1,089 km²)
    - Water               1.23 sq mi (3 km²), 0.29%
  Population
    - (2010)                        33,225
   - Density                 79.0/sq mi (31/km²)
  Time zone                   Eastern: UTC-5/-4
    Website             jacksoncountygovernment.org

Jackson County is a county located in the state of Ohio, United States. According to the 2010 census, it has a
population of 33,225, which is an increase of 1.8% from 32,641 in 2000.[2] Its county seat is Jackson[3] and is
named for Andrew Jackson, a hero of the War of 1812 who was subsequently elected President




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races, and 0.82% from two or more races. 0.60% of the population were Hispanic or Latino of any race. In
2010 16.5% were of German, 12.9% American, 11.3% Irish, 10.4% English, 5.2% Welsh, 2.4% Scottish, and
1.6% Ulster Scot.

There were 12,619 households out of which 34.5% had children under the age of 18 living with them, 55.4%
were married couples living together, 12.0% had a female householder with no husband present, and 27.6%
were non-families. 24.0% of all households were made up of individuals and 10.5% had someone living alone
who was 65 years of age or older. The average household size was 2.55 and the average family size was
3.00.In the county, the population was spread out with 26.0% under the age of 18, 8.7% from 18 to 24, 28.7%
from 25 to 44, 23.0% from 45 to 64, and 13.6% who were 65 years of age or older. The median age was 36
years. For every 100 females there were 93.2 males. For every 100 females age 18 and over, there were 89.9
males.The median income for a household in the county was $30,661, and the median income for a family was
$36,022. Males had a median income of $30,651 versus $21,546 for females. The per capita income for the
county was $14,789. About 13.6% of families and 16.5% of the population were below the poverty line,
including 20.3% of those under age 18 and 16.1% of those age 65 or over.

Government

Jackson County has a three-member Board of County Commissioners that administers and oversees the various
County departments, similar to all but two of the 88 Ohio counties.

Communities




Map of Jackson County, Ohio with Municipal and Township Labels
Cities

    •    Jackson (county seat)



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Sale History
According to our client, a purchase agreement is now pending for the subject real estate at a $2,200,000 sale price (real estate
only). This agreement lists the buyer as Foremost Management, Inc. and the seller as Elemetal Refining, LLC The contract
price is within a reasonable market value range. To the best of our knowledge, the agreement does not include sub-market
seller financing or material personal property. No significant seller concessions, rebates, credits, or discounts are involved.
There is no evidence that the property has been publicly marketed.

                                             Subject’s Current Ownership
                                          Owner                            Information Source
                                 Elemetal Refining, LLC                       Public records

Closed prior sales of the subject and prior expired listings, if any, during the three-year period preceding this report’s effective
value date are itemized below.

                                            Closed Prior Sales of Subject
  Sale Date       Sale Price               Seller                     Buyer                       Conditions of Sale
                                      Ohio Precious            Elemetal Refining,          Reportedly not an arms length
  6-12-2017           $0
                                      Metals, LLC                    LLC                            transaction
                                                                                                    No prior sales



                                                    Expired Prior Listings
                         Time Period                   List Price                      Comments
                             None



Flood Hazard
According to the appropriate Federal Emergency Management Agency (FEMA) flood map, which is identified below, the
subject property is not located in a zone "A" special flood hazard.

                                    Flood Map Number          390292 0145K
                                       Flood Map Date         December 18, 2009
                                            Flood Zone        X

Flood Maps published by FEMA are not precise. If anyone desires a precise determination of the subject's flood hazard
classification, a professional engineer, licensed surveyor, or local governmental authority should make an exact determination.

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Flood Map




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Environmental Risks
Visually apparent signs of unknown substances or environmental hazards observed by the appraiser(s) at the time the subject
property was inspected:

                                                            NONE

Robert E Gambill Appraisals and the appraisers are not experts in the identification or detection of environmental hazards.
We are not qualified to detect the presence of any harmful substances or gases. Unless specifically stated to the contrary, the
appraisers have no knowledge about the existence of any environmental hazard on, under, above, or within the subject real
estate. No overt evidence of any environmental hazard is apparent to the untrained eye. However, we have not specifically
inspected the subject property to determine the presence of any environmental hazard. No effort was made to dismantle or
probe the structure to observe enclosed, encased, or otherwise concealed elements for environmental hazards including but not
limited to:

      Potential for friable asbestos                            Use of urea-formaldehyde insulation
      Underground storage tanks                                 Settlement or soil subsidence
      Flaking and potentially lead based paint                  Fire resistant treated plywood (FRTP)
      Radon                                                     PCB
      Toxic mold                                                Asbestos
      Evidence of chemical spills or soil contamination         Nearby off-site uses that pose a hazard

Flood hazards conditions are detailed elsewhere in this appraisal. Except as enumerated herein, the appraiser(s) were not
given the results of any environmental testing on or near the subject property, if any. Neither the inspection nor other normal
research suggested any apparent presence of hazardous substances or detrimental environmental conditions.

The presence of any hazard would likely diminish the subject's value. The value estimate in this report assumes there is no
hazard of any type affecting the subject real estate. No responsibility is assumed by the appraisers or Robert E Gambill
Appraisals for any hazard, or for any expertise required to discover any environmental hazard. Our client is urged to retain an
expert in this field, if desired.




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Building Sketch - Floor Plan
Below is a sketch provided by the buyer showing the basic floor plan. Following it are the sketches from the County Auditor.




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Income Approach
The income approach is most applicable for real estate developed to generate rental income such as shopping centers or
apartment buildings. Small freestanding, single-user structures, like the subject, are customarily erected and acquired to house
their owner, not produce rental income.

One criterion used to define market value is the “most probable price.” Implicit within the “most probable price” concept is
the presumption of a sale to the most probable buyer. In this case, the most probable buyer is an owner-user acquiring the
property for occupancy, not rental income. This buyer group generally does not use an income valuation process during their
purchase deliberations. Moreover, different buyer groups have different motivations and different perceptions of risk, which
influence their purchasing decisions. Hence, it stands to reason that the estimation of market value should be based on market
evidence pertaining to the most probable buyer, not less frequent buyer groups.

By its very nature, market data applicable to less frequent buyer groups is scarce and scattered, hence less meaningful. As
applicable to the subject, sufficient rental data, expense information and capitalization rates necessary to process a meaningful
value indication via this approach, are not available. Therefore, this approach was judged inapplicable and intentionally
omitted.



Sales Comparison Approach

Introduction

In an appraisal, the real estate being appraised is referred to as the “subject” or “subject property.” Properties possessing
characteristics that are physically, and locationally similar to the subject are called “comparables” or “comparable sales.” In
this approach, comparables are compared to the subject. Differences are noted. Dissimilarities between the subject and the
comparables are categorized into elements of comparison. Adjustments, to compensate for dissimilarities, are next applied to
the sale prices of the comparable sales. Then, a value estimate for the subject is reconciled from the range in adjusted sale
prices established by the comparables. All cited transactions are "arm's length" conveyances unless stated otherwise. An
“arm’s length” transaction is an agreement between unrelated parties under no duress.




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Sales Comparison Approach

Market Data




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               An appraisal of:      A General-Purpose Industrial Facility With One User Spaces
                       Located at:   16064 Beaver Pike Jackson, OH 45640




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Sales Comparison Approach - Photos of Sales                  (Page 1 of 2)




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Sales Comparison Approach - Photos of Sales                  (Page 2 of 2)




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Sales Comparison Approach

Sales Location Map




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Sales Comparison Approach

Analysis & Conclusions

The subject and all cited sales share several characteristics. They are all located in either the same or similar settings , and
have similar use and utility. These commonalities justify the inclusion of these sales in this analysis.

Property Rights           Agreements or laws create partial interests in real estate. If the interest conveyed for a comparable
sale is different from the interest being appraised, then a property rights adjustment is necessary. A common adjustment of
this type compensates for a lease that disfavors ownership, and negatively affects value. Unless stated otherwise, property
rights are virtually the same for the subject and all cited conveyances. No lease adversely impairs value. Hence, no
adjustments are necessary for this element of comparison.

Financing                  Non-market financing is a common technique used to finance the acquisition of real estate during
periods of high interest rates. When non-market financing is used, the financing is typically favorable to the buyer and the
sale price is usually inflated. The escalated price can be envisioned as a composite of real estate, and advantageous financing
terms. Since value created by financing is not real property, the contribution of the advantageous financing must be deducted
from total sale price to derive a true price for just the realty. Unless a statement is made to the contrary, non-market financing
was not used to acquire any comparable sale cited in this report. Therefore, no compensations are needed for financing.

Conditions of Sale        An adjustment for conditions of sale compensates for unusual buyer or seller motivations that impact
sale price. For instance, when a seller gives the buyer an atypical rebate, discount, credit, or something of value to induce a
conveyance, it is logical to deduct the worth of the giveback from the sale price. Residual sums represent the net or effective
sale price. Unless stated otherwise, no adjustments are necessary for conditions of sale.

Expenditures Post Sale This is a situation when a buyer has to invest monies in a property immediately after acquisition for
some atypical reason. Post-sale invested sums are customarily added to a comparable’s sale price, which produces an
adjusted sale price. Examples are demolition costs or building code compliance costs. Unless a contrary statement is made,
no adjustments are necessary for post sale expenditures.

Market Conditions         This is an adjustment for change in value due to change in market conditions. It is commonly
referred to as a time adjustment, but this is misleading. Value does not change simply due to the passage of time. Values
fluctuate due to changes in market conditions, so this adjustment compensates for change in market conditions between a
sale’s transaction date and a later point in time. All cited comparables conveyed between July 2017 and this report’s effective
value date. Values were stable between these two dates, therefore

►No date of sale adjustments were applied.

Location                 Each property was rated to the subject for locational aspects such as value growth potential, access,
and general desirability. Those transactions with superior locations were adjusted downward and vice versa.

Physical Attributes     A myriad of physical characteristics can affect value. Some examples are lot size, building size,
physical condition of the building, functionality, and visual appeal. Those sales with superior physical qualities warrant
downward adjustment and vice versa.



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The land to building ratio (L:B) is an index reflecting land use intensity. The greater the index, the more land available for
building expansion, parking, green space, or storage. Generally, a large index contributes more to value than a small index.
►Modest adjustments were applied as seemingly required.

Usually there is an inverse relationship between price and building size caused primarily by economies of scale associated
with construction. That is, price per square foot tends to diminish as size increases.
►Adjustments were applied as necessary

Structures with larger proportions of interior finishing have higher construction costs and values than buildings with smaller
ratios. In light of same,
►adjustments were applied where necessary

Better-maintained or more modern buildings obviously command higher prices. Each analyzed transaction was compared to
the subject for physical condition. Structures with superior physical condition relative to the subject were adjusted downward
and vice versa.

Economic Attributes An economic attributes adjustment is needed when the subject’s ability to generate net income is
different from that of a comparable. An example is a major disparity in real estate taxes for similar proximate apartment
buildings. Another illustration might be a superior tenant mix, which enables a shopping mall to command rent premiums.
Unless a statement is made to the contrary, this element of comparison is not applicable the case at hand.


Sales Comparison Approach

Analysis & Conclusions

Needed adjustments were explained above. These adjustments have been quantified and are shown in the prior table. Some
of these adjustments are based upon the appraisers' professional judgment when data was insufficient to enable market
extraction.

The appraisers are well aware the cited conveyances are less than ideal comparisons. However, sales of more comparable
properties were not discovered during our research. Selected transactions were chosen for analysis because they are all
buildings suitable for industrial purposes like the subject.

Value Indication

►All sales are somewhat similarly comparable on an overall basis.

►Sale #1 is one that I appraised at the time of sale. The largest adjustment was applied to the superior amount of inside
office space. Overall, though the subject and this comparable were quite like each other.

►Sale #2 was also one that I appraised at the time of sale. It was superior in many areas including age, condition and interior
finish. Largely, it was completely open and had good access and flow for a distribution company. It still set the high end of
the range. Seemingly, the sales price was above what was typical for the market. The buyer was motivated to gain an office
and warehouse at this location after just acquiring another adjacent 300,000 sf building at a substantially below market price.


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►Sale # 3 was quite proximate to the subject. This was a sale of a fairly similar use property that though was inferior in
numerous characteristics not to mention on a much smaller site. We appraised this property and there was an investment in
excess of $600,000 for remodeling to make the property useful and thus the expenditure after sale adjustment.

►Sale # 4 was a foreclosure that sold back to the lender at $400,000. It was sold to the local economic development
company. At the $400,000 price, the adjusted price per sf would be over $13.00 per sf.

►Sale # 5 was the most recent sale and set the high end of the range. It was also a building with similar utility.

The adjusted data varies from $6.72 to $19.24 per sq. ft., a substantial range. After careful consideration of all factors
pertaining to, and influencing the sales comparison approach, the following is selected as the most fitting value indication.
Both the per unit and lump sums reflect the worth of the subject building, site improvements, and the land. Accordingly

      Subject Structure          159,000          Sq. Ft. @          14.00          Per Sq. Ft. =           $2,226,000

                                            Indicated Market Value
                                                                                                            $2,200,000
                                      Via Sales Comparison, Say rounded


Reconciliation
All salient aspects of the subject property have been presented and discussed. Zoning uses, requirements and limitations were
considered. If within the scope of work, the subject's Highest and Best Use was determined. Appropriate valuation
techniques were processed. Applicable approaches produced the following results:
                                           Cost Approach      Not Applicable
                                         Income Approach      Not Applicable
                             Sales Comparison Approach        $2,200,000 “As Is”
The sales comparison approach is considered most applicable for this type and size property in this vicinity. Therefore, our
final market value conclusion for the subject real estate is
                                                   $2,200,000 “As Is”
                                     Two MillionTwo Hundred Thousand Dollars “As Is”

Exposure Time
Terminology abounds in the real estate appraisal profession. Two related but different concepts that are often confused are
Exposure Time and Marketing Time. USPAP specifically addresses the confusion.

       Term                                      Definition                                         Explanation
                       “... the estimated length of time the property interest being
                                                                                          Backward looking; ends on the
  Exposure Time        appraised would have been offered on the market prior to the
                                                                                          effective value date. Based on
   (Statement 6)       hypothetical consummation of a sale at market value on the
                                                                                                factual, past events.
                       effective date of the appraisal".

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                                                                                             Forward looking; starts on the
  Marketing Time       “... an opinion of the amount of time it might take to sell a real or
                                                                                                 effective value date. A
    (Advisory          personal property interest at the concluded market value during
                                                                                             forecast based on expectancies
   Opinion 7)          the period immediately after the effective date of the appraisal".
                                                                                                  of future occurrences.
USPAP Standard rule 1-2(c)(iv) requires an opinion of exposure time, not marketing time, when the purpose of the appraisal
is to estimate market value. In the recent past, the volume of competitive properties offered for sale, sale prices, and vacancy
rates have fluctuated little. Sale concessions have not been prevalent. In light thereof, an estimated exposure time for the
subject is 6 to 12 months assuming competitive pricing and prudent marketing efforts.

Personal Property & Other Value Exclusions
Personal property is movable and not permanently affixed to the real estate. Examples of personal property are freestanding
ranges and refrigerators. The personal property included in this appraisal's value conclusion, if any, is considered typical for
this type real estate, yet insignificant to the value conclusion. Therefore, it is not itemized or valued herein. Moreover, this
report’s final value conclusion(s) excludes unaffixed equipment, detached trade fixtures, chattel, and business good will
unless specifically stated to the contrary.

Digital Images
Our world is rapidly shifting to a global economy in which technology and e-commerce play major roles. Digitized signatures
and digital photographs are key elements of this shift. This appraisal may contain digital photographs, which are true and
accurate representations. Brightness and/or contrast of these images may have been adjusted to enhance visibility when
lighting conditions were too light or too dark. However, the content of these images was not altered or augmented in any
way.

Digital signatures may be affixed to this document. Statement 8 of USPAP recognizes and addresses the proper use of
digitized signatures. In this document, a digital signature is a reproduction of the appraiser's actual signature. Software used
for the affixation has a password security feature, which controls its usage.




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Appraisal Institute
The Appraisal Institute, the professional organization that awards the MAI and SRA appraisal designations, conducts a
program of continuing professional education for its designated members. Associate and Affiliated Members may attend
educational courses and seminars, but they do not receive continuing education credit from the Appraisal Institute. Only
designated Appraisal Institute members make the following declarations and/or certifications.

                                                 As of the date of        As of the date of
                                                this report, I have      this report, I have
                                                                                                  Not Applicable.
                                                  completed the         not completed the
                                                                                                 Not a designated
                                                    continuing               continuing
                                                                                                   member of the
                                               education program        education program
                                                                                                 Appraisal Institute
                                                 of the Appraisal         of the Appraisal
                                                      Institute                Institute
     Robert E. Gambill, SRA                              x

Signatories to this report, who are Appraisal Institute designated members, associates, or affiliates, incorporate the following
Certifications to those listed under the bolded topic named “Certifications” contained later in this report.
       The reported analyses, opinions, and conclusions were developed, and this report has been prepared in conformity
        with the requirements of the Code of Professional Ethics & Standards of Professional Appraisal Practice of the
        Appraisal Institute, which includes the Uniform Standards of Professional Appraisal Practice.

      Use of this report is subject to the requirements of the Appraisal Institute relating to review by its duly authorized
       representatives.




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ROBERT E. GAMBILL, SRA                                             3130 Michigan Ave.
Certified General Appraiser                                        Portsmouth, Ohio 45662
OH – 2003019456OH                                                  gambillappraisals@hotmail.com
KY – 3989                                                          (740) 357-1347

                Residential – Commercial – Estates – Expert Witness Testimony
PROFESSIONAL PROFILE
  •   Performing appraisals for a fee since 1990 and have been licensed by the state of Ohio since 1994.
  •   Instructor of real estate and appraisal courses at Shawnee State University.
  •   Received ‘SRA’ designation from the Appraisal Institute in 2008.
  •   Active member of the National Association of Realtors’ Appraisal section.
  •   Certified General Appraiser in Ohio and Kentucky.

REAL ESTATE EDUCATION
Appraisal Institute                                                       Chicago, IL
USPAP, Ethics and Business Practices, Advanced Narrative Report Writing, SRA demonstration reports,
Commercial Narrative Report Writing, Condemnation and Eminent Domain, Real Estate Finance Statistics and
Valuation Modeling, Analyzing Operating Expenses, Tools & Technology for Real Estate Appraisers, What
Commercial Clients Want, Appraisal Review, FHA & the Appraisal Process, Candidate for Designation Advisor,
Scope of Work, Appraising from Blue Prints Appraising Convenience Stores, Real Estate Finance Statistics and
Valuation Modeling, Reviewing Residential Appraisals, Land & Site Valuation and Advanced Market Analysis &
Highest and Best Use, Expert Witness Testimony.
South Eastern Business College                                            Portsmouth, Oh
Principles and Practices of Real Estate, Real Estate Law
Hondros Real Estate School                                                Columbus, Oh
Real Estate Appraisal, Applied Residential Property Valuation, Uniform Standards of Appraisal Practice,
Appraising Small Residential Income Property, Uniform Residential Appraisal Reports, Real Estate Finance, House
Building from the Ground Up, Real Estate Brokerage, Red Flags and Environmental Concerns, Appraising from
Blueprints and Specs, Real Estate Rehab, Real Estate Ethics, Core Law, Civil Rights, Fair Housing, and Appraising
Complex Properties.
ADDITIONAL EDUCATION
Ohio University        Athens, Oh                                                         1981
M.A., Higher Education
Ohio University        Athens, Oh                                                         1980
B.S., Criminal Justice, Business Administration
Associate Degree in Law Enforcement (1979)


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ADDITIONAL BACKGROUND
Types of Assignments
 • Eminent domain appraisals for the City of Portsmouth for the purposes of building new dormitories for
     Shawnee State University, four phases of the property acquisition by Portsmouth City Schools as well as
     over 150 parcels for their sports complex which has involved both residential and commercial structures
     and sites.
 • Various appraisal services for the city of Portsmouth in recent years involving residential, commercial
     and industrial structures for multiple purposes.
 • Valuation services for the Wheelersburg School system for the same purposes.
 • Tax valuation appraisals for both government and individuals as to the their tax valuations
 • Highway right of way takings
 • Eminent domain appraisals performed for the FAA for airport expansion in Pike County.
 • Appraisals for various owners of restaurant properties as well as highest and best use analysis
 • Strip shopping centers, fast food facilities, conventional restaurants, ground leases, automotive garages,
     retail and service related buildings in Southeastern Ohio, NE KY and Cabell county area of WV.
 • Assisted investigators for the State of Ohio and the FBI in fraud investigations by reviewing appraisals
     and performing investigation of transactions.
 • Additional assignments have included apartment complexes of various size, storage facilities, office
     buildings of various types, convenience stores, trucking company facilities, day care facilities, residential
     care facilities, garden centers, mobile home parks, Convenient marts/fuel centers, Medical facilities,
     Government buildings, industrial facilities and Churches,
 • Vacant land both for development as residential and industrial properties as well as subdivision analysis.
     Completed a significant project for New Steel International in 2008 involving land both for residential
     and commercial purposes.
 • Expert Witness Testimony in various courts for litigation purposes.
 • As a former real estate broker or owner for over 26 years I have been engaged in assistance with
     development and marketing of subdivision properties, agricultural and all types of residential &
     commercial properties.
 • Industrial complexes complete with an active River Port.

CUSTOMERS
American Savings Bank now Peoples Bank, Wesbanco, Community Trust Bank JPMorgan Chase, City National
Bank, Town Square Bank, RBS Citizens, Charter One Bank (now CCO Mortgage), PNC Bank, Citizens National
Bank, Citizens Deposit Bank, Louisa Community Bank, Pinnacle Bank, First State Bank, First Financial Bank,
Ohio Valley Bank, First National of Waverly, Various Scioto & Pike County Courts (common pleas, domestic
relations, probate). U. S. Bankruptcy Court. I also do independent consulting for various governmental agencies
and their subsidiaries.

REFERENCES
Available upon request

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